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United States Bankruptcy Court
Middle District of Florida

In re Eihab H. Tawfik, M.D., P.A. Case No. 3:18-bk-01164-JAF

 

Debtor(s) Chapter 1 1

 

CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)

Pursuant to Federal Rule of Banl<ruptcy Procedure 7007.1 and to enable the Judges to evaluate possible disqualification or
recusal, the undersigned counsel for Eihab H. Tawfik, M.D., P.A. in the above captioned action, certifies that the
following is a (are) corporation(s), other than the debtor or a governmental unit, that directly or indirectly own(s) l()% or
more of any class of the corporation's(s') equity interests, or states that there are no entities to report under FRBP 7007. l:

l None [Check ifappll`cable]

§"Q~/F '

Date Justin M. L 30037131 '
Signa e of Attorney or Litigant
Coungel for Eihab H. Tawfik, M.D., P.A.
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